              Case 3:22-cr-00426-JSC Document 241 Filed 05/17/24 Page 1 of 1



 1   DEFEJODI LINKER, Bar No. 230273
     Federal Public Defender
 2   Northern District of California
     TODD BORDEN, Bar No. 269092
 3   Assistant Federal Public Defender
     19th Floor Federal Building - Box 36106
 4
     450 Golden Gate Avenue
 5   San Francisco, CA 94102
     Telephone: (415) 436-7700
 6   Facsimile: (415) 436-7706
     Email:       Todd_Borden@fd.org
 7

 8   Counsel for Defendant DePape
 9
10                                   IN THE UNITED STATES DISTRICT COURT
11                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                         SAN FRANCISCO DIVISION
13

14     UNITED STATES OF AMERICA,                           Case No.: CR 24–426 JSC
15                      Plaintiff,                         NOTICE OF APPEAL
16             v.
17     DAVID WAYNE DEPAPE,
18                      Defendant.
19
            Defendant David Wayne DePape hereby notices an appeal to the United States Court of
20
     Appeals for the Ninth Circuit from the judgment and sentence entered in this matter.
21

22
           Dated:      May 17, 2024                        Respectfully submitted,
23
                                                           JODI LINKER
24                                                         Federal Public Defender
                                                           Northern District of California
25
                                                                     /S
26                                                         TODD BORDEN
                                                           Assistant Federal Public Defender
27

28

     NOTICE OF APPEAL
     DEPAPE, CR 24–426 JSC
                                                       1
